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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 STANDING ROCK SIOUX TRIBE, et al.,

        Plaintiffs,

        and

 CHEYENNE RIVER SIOUX TRIBE, et al.,

        Plaintiff-Intervenors,
                v.                                         Civil Action No. 16-1534 (JEB)
 U.S. ARMY CORPS OF ENGINEERS,

        Defendant,

        and

 DAKOTA ACCESS, LLC,

        Defendant-Intervenor.


                                             ORDER

       On July 6, 2020, this Court issued a Memorandum Opinion and separate Order

addressing the question of remedy pending Defendant U.S. Army Corps of Engineers’

conducting of an Environmental Impact Study on remand. See ECF Nos. 545–46. Of particular

relevance, the Court ordered that Defendant-Intervenor Dakota Access, LLC shut down and

empty the Dakota Access Pipeline within 30 days. Two days later, Dakota Access asked the

Court to stay its ruling pending an appeal, which it had filed the day of the Court’s ruling. See

ECF Nos. 552 (Motion) & 548 (Notice of Appeal). Dakota Access also asked for an immediate

status conference on July 9, see Motion at 2, to which request this Court promptly acceded.




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         At that conference, which took place this afternoon, Dakota Access emphasized its

understandable desire to be heard in the Court of Appeals as soon as possible, and it asked this

Court to rule expeditiously on its Motion to Stay. The Court explained that it did not see a basis

for a stay; indeed, the four factors courts analyze in considering stays, see, e.g., Akiachak Native

Cmty. v. Jewell, 995 F. Supp. 2d 7, 12 (D.D.C. 2014) (citing Wash. Metro. Area Transit

Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977)), were essentially subsumed

in the Court’s latest Opinion granting vacatur pending remand.

         The Court nonetheless expressed its willingness to consider a modification to the logistics

and timing of the pipeline shutdown and emptying. Dakota Access had contended in its Motion

that this would take 86-101 days, see Motion at 11 (citing Third Declaration of Todd Stamm),

and the Court asked the Tribes if they would negotiate with Dakota Access with an eye toward

reaching an agreement on, e.g., a somewhat longer timetable. The Tribes indicated their

willingness to do so and, if no agreement was reached, to file a brief by Monday, July 13,

regarding the stay. The Court then encouraged the parties to negotiate and explained that it

would rule on those logistics (absent agreement) early next week.

         Dakota Access, mindful of the running clock, told the Court that it preferred an

immediate ruling denying the Motion to Stay if the Court was only waiting to try to resolve the

logistical and timing issues, rather than the merits. The Court is thus obliging Dakota Access by

issuing this expedited Order, although it remains willing to assist in mediating (or ultimately

deciding) any dispute regarding such logistical and timing issues if jurisdictionally permitted to

do so.




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       The Court, accordingly, ORDERS that Dakota Access’s Motion to Stay is DENIED.

SO ORDERED.

                                               /s/ James E. Boasberg
                                               JAMES E. BOASBERG
                                               United States District Judge

Date: July 9, 2020




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